Case: 1:21-cv-00166-DAP Doc #: 5-1 Filed: 04/19/21 1o0f1. PagelD #: 32

Be) NB) =i a oe 7 0) 17) =) =a =e wy [os] = 09 8 (0),%)

™ Complete items 1, 2, and 3.

@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

fore) ede =a f=iy a yc {on # (6) NiCo) 0) = 81/512) 4

A. Signatur A Te
X HHL a 3/ ZL oO ee

ecei a pile y (Printed Name) Cc. ps sly
“4 Use

1. Article Addressed to:

Bridget M. Brennan, Ese.
Bol West Superior Ave Surle 400
Cleveland, Ohio 44!

UUUA ATT

9590 9402 6058 0125 6231 50

D. Is delivery address different from item Ys ni Yes
If YES, enter delivery address below: 1 No

2. Article Number (Transfer from service label)

?Oe 3160 OO00 b3e4 ?485 a

3. Service Type

0 Adult Signature

0D Adult Signature Restricted Delivery
{Certified Mail®

O Certified Mail Restricted Delivery O Return Receipt for
Collect on Delivery Merchandise

O Priority Mail Express®
O Registered Mail™

0 Registered Mail Restricted
Delivery

C Collect on Delivery Restricted Delivery O Signature Confirmation™
0 Signature Confirmation

} Mail
| Mail Restricted Delivery Restricted Delivery
300)

PS Form 3811, July 2015 PSN 7530-02-000-9053

Domestic Return Receipt :
